Case 1:07-cv-03928-FB-RML Document 154 Filed 09/16/15 Page 1 of 1 PageID #: 1110




                                       UNITED STATES
                     SECURITIES AND EXCHANGE COMMISSION
                                NEW YORK REGIONAL OFFICE
                                         200 Vesey Street
                                           SUITE 400
                                   NEW YORK, NEW YORK 10281-1022           JACK KAUFMAN
                                                                           (212) 336-0106
                                                                           KaufmanJa@sec.gov




                                             September 16, 2015

 By ECF
 The Honorable John Gleeson
 United States District Judge
 Eastern District of New York
 United States Courthouse
 225 Cadman Plaza East
 Brooklyn, New York 11201

               Re:     SEC v. Joseph Simone, et al., 07-cv-3928 (EDNY) (JG)(RML)

 Dear Judge Gleeson:

         Plaintiff Securities and Exchange Commission respectfully submits the following status
 report. The Commission has resolved all of its claims in this case. The only ongoing matters
 concern collection of certain previously-entered final judgments (although the Commission does
 not presently anticipate raising any such matters with the Court).


                                             Respectfully Submitted,

                                             /s/ Jack Kaufman
                                             Senior Trial Counsel
                                             Division of Enforcement
